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                                                                                                          IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                          7                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                                          9   CISCO SYSTEMS, INC.,                                   No. C 14-05343 JSW
                                                                         10                  Plaintiff,

                                                                         11     v.                                                   ORDER REQUIRING JOINT STATUS
United States District Court




                                                                                                                                     REPORT
                                                                              ARISTA NETWORKS, INC.,
                               For the Northern District of California




                                                                         12
                                                                         13                  Defendant.
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                                                                         15          On February 10, 2015, this Court issued an order staying this matter pursuant to an
                                                                         16   unopposed motion for a stay of proceedings pending the final determination of the United States
                                                                         17   International Trade Commission in Investigation Nos. 337-TA-3045 and 337-TA-3046. The Court
                                                                         18   has not received a status report on the status of the investigations and when the parties expect that
                                                                         19   the stay may be lifted or the case dismissed. The parties are HEREBY ORDERED to submit a joint
                                                                         20   status report by no later than March 23, 2018.
                                                                         21          IT IS SO ORDERED.
                                                                         22   Dated: March 6, 2018
                                                                                                                                       JEFFREY S. WHITE
                                                                         23                                                            UNITED STATES DISTRICT JUDGE
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